Case 1:18-cv-Ol799-SEB-TAB Document 6-1 Filed 06/13/18 Page 1 of 1 Page|D #: 73

Exhibit A
Certif'lcation of David Cortman
In Support of Motion to Appear Pro Hac Vice

In support of the Motion to Appear Pro Hac Vice filed on my behalf by Eric Bohnet of the
law firm Bohnet Law, and pursuant to S. D. Ind. Local Rule 83-6(b), the undersigned states:

l. I am admitted to practice and in good standing (i.e., currently authorized to practice
as an attorney) in the Supreme Court of Georgia. I was admitted on November 4, 1996.

2. I have never been disbarred or suspended from practice before any court,
department, bureau or commission of any state or the United States. I have never received a
reprimand or been subject to other disciplinary action from any such court, department, bureau or
commission pertaining to conduct or fitness as a member of the bar.

3. I have reviewed the Seventh Circuit Standards of Professional Conduct and the
Local Rules of the Court, including the Rules of Disciplinary Enforcement, and I will abide by
these rules and standards

I certify that the above information is true and correct.

Dated:June z ,2018.

Respectfully submitted,

,<;M wl

 

David Cortman

ALLlANCE DEFENDING FREEDOM
1000 Hurricane Shoals Rd Ne
Suite D-l 100

Lawrenceville, GA 30043
Telephone: (770) 339-0774

Fax: (770) 339-6744

Email: DCortman@ADFlegal.org

